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INDIGENOUS
ENVIRONMENTAL
NETWORK and NORTH
COAST RIVERS ALLIANCE

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

INDIGENOUS ENVIRONMENTAL NETWORK )            CV 17-29-GF-BMM
                                   )
and NORTH COAST RIVERS ALLIANCE,   )          CV 17-31-GF-BMM
               and                 )
                                   )          PLAINTIFFS
                                   )
NORTHERN PLAINS RESOURCE COUNCIL, )           INDIGENOUS
et al.,                            )          ENVIRONMENTAL
                     Plaintiffs,   )          NETWORK’S and NORTH
                                   )
                                   )          COAST RIVERS
                    v.             )          ALLIANCE’S NOTICE OF
                                   )          APPEAL TO COURT OF
                                   )
UNITED STATES DEPARTMENT OF STATE, )          APPEALS FOR THE
et al.,                            )          NINTH CIRCUIT
         Defendants,               )
                                   )

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TRANSCANADA KEYSTONE PIPELINE and                  )
                                                   )
TRANSCANADA CORPORATION,                           )
                                                   )
          Defendant-Intervenors.                   )
                                                   )
_________________________________________

      PLEASE TAKE NOTICE that plaintiffs INDIGENOUS

ENVIRONMENTAL NETWORK and NORTH COAST RIVERS ALLIANCE

hereby appeal to the United States Court of Appeals for the Ninth Circuit, pursuant

to 28 U.S.C. section 1291 and Rule 3(a), Federal Rules of Appellate Procedure,

from the District Court’s Judgment in a Civil Case filed November 15, 2018.

      The parties to the Judgment appealed from and the names, addresses and

telephone numbers of their respective attorneys are as follows:

      1.    Counsel for Plaintiffs and Appellants INDIGENOUS
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            ALLIANCE

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      A copy of the Court’s Judgment in a Civil Case filed November 15, 2018, is

annexed hereto.

Dated: January 14, 2019       Respectfully submitted,

                              /s/ Stephan C. Volker
                              STEPHAN C. VOLKER



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                      PATTEN, PETERMAN, BEKKEDAHL, &
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                      Attorneys for Plaintiffs and Appellants




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                        CERTIFICATE OF SERVICE

      I hereby certify that on January 14, 2019, a copy of the foregoing

PLAINTIFFS INDIGENOUS ENVIRONMENTAL NETWORK’S and

NORTH COAST RIVERS ALLIANCE’S NOTICE OF APPEAL TO

COURT OF APPEALS FOR THE NINTH CIRCUIT was electronically served

on all counsel of record via the Court=s CM/ECF system.



                         s/ Stephan C. Volker
                         Attorneys for Plaintiffs
                         INDIGENOUS ENVIRONMENTAL NETWORK
                         and NORTH COAST RIVERS ALLIANCE




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